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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA

                                             )
                                             )
MARK ANDREWS
_________________________________,           )
                        Plaintiff(s)         )
                                             )
                                             )
                 VS.                                     1:22-CV-4259-SDG
                                              ) Case No. _________________
                                             )
                                             )
DINESH D'SOUZA, et al
__________________________________,          )
                        Defendant(s)         )
                                             )


                  VERIFICATION OF FINANCIAL ARRANGEMENTS

       Proceeding Type: Motions
       Proceeding Date: 8/24/23
       Volume Number:
       Date Transcript Filed: 10/20/23

      I hereby certify that the following parties/attorneys of record have made financial
arrangements with said court reporter for transcript preparation in the above-styled case.

       Marcos Mocine-McQueen
       ____________________________________________________________

       Joseph R. Larsen
       ____________________________________________________________

       ____________________________________________________________

       ____________________________________________________________

     The attorneys listed below shall be provided with remote access to the transcript via
CM/ECF and PACER.

       Marcos Mocine-McQueen, Joseph R. Larsen
       ____________________________________________________________

       ____________________________________________________________



       12/13/2023
       _______________            ALICIA B. BAGLEY, RMR, CRR
                                  ______________________________________
               Date                              Court Reporter
